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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                      SAN JOSE DIVISION


 IN RE: YAHOO! INC. CUSTOMER                      Case No. 16-MD-02752-LHK
 DATA SECURITY BREACH
 LITIGATION                                       NOTICE OF APPEAL




    Class Member/Objector Aaron Miller hereby appeals the Second Amended Order Granting

Plaintiffs’ Motion for Approval of Class Action Settlement; Granting in part Plaintiffs’

Attorneys’ Fees, Costs and Expenses and Service Awards (Doc. 497) dated July 22, 2020 and the

Amended Judgment (Doc. 498) dated July 22, 2020.

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       Dated this 21st of August 2020               Respectfully submitted

                                                    STEVE A. MILLER, PC

                                                    ___/s/ Steve A. Miller__
                                                    STEVE A. MILLER



                                CERTIFICATE OF SERVICE

   A copy of the foregoing has been served upon all parties by operation of the court’s
Electronic Case Filing system this 21st day of August 2020

                                                    ______/s/ Steve A. Miller_______




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